                                                                               DISTRICT OF OREGON
                                                                                    FILED
                                                                                    May 05, 2020
                                                                             Clerk, U.S. Bankruptcy Court



           Below is an order of the court.

 1
 2
 3
 4
 5                                                       _______________________________________
                                   UNITED STATES BANKRUPTCY   COURT
                                     FOR THE DISTRICT OF OREGON PETER     C. McKITTRICK
                                                                   U.S. Bankruptcy Judge
 6
     In Re:                                           Bankruptcy Case
 7
                                                      No. 19-60230-pcm11
     WILLIAM JOHN BERMAN,
 8
                    Debtor.
 9
     LOREN HATHAWAY, on behalf of                     Adv. Proc. No. 19-6026-pcm
10   himself and all others similarly
     situated; GENNISE HATHAWAY, on
11   behalf of herself and all others                 ORDER STRIKING DOC. 65
     similarly situated; and HEATHER
12   NOBLE, on behalf of herself and
13   all others similarly situated,

14                         Plaintiffs,

15            v.

16
     WILLIAM JOHN BERMAN,
17
                            Defendant.
18
19          On March 25, 2020, plaintiffs filed a Motion for Class
20   Certification, Doc. 59.            On April 15, 2020, defendant filed a Response
21   to the motion.        Doc. 60.      On April 30, 2020, the court granted
22   plaintiffs’ unopposed motion for additional time to file a Reply.                             Doc.
23   63.    Plaintiffs did not seek leave to file a Reply.
24          Plaintiffs have now filed a Reply to the motion.                   Doc. 65.
25          The Local Rules of the Bankruptcy Court do not allow the filing of
26   a reply in motions filed in adversary proceedings, other than motions


     Page 1 - ORDER STRIKING DOC. 65

                              Case 19-06026-pcm    Doc 67   Filed 05/05/20
1    for summary judgment.   LBR 7007-1(b)(3), (4).       Thus, the entry of the

2    order allowing an extension of time to file the Reply was entered in

3    error.   Because the rules do not allow the filing of a Reply in motions

4    filed in adversary proceedings (other than motions for summary

5    judgment),

6         IT IS HEREBY ORDERED that plaintiffs’ Reply, Doc. 65, is STRICKEN.

7                                            ###

8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26



     Page 2 - ORDER STRIKING DOC. 65

                       Case 19-06026-pcm   Doc 67   Filed 05/05/20
